Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 1of21 Page.ID #:6

 

 

 

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~ . CM-010
[ATTORNEY OR PARTY WITHOUT PT fame. State Bor number and addr B45) FOR COURT.USE ONLY:
r— John P.. Kristensen (SBN 2 32)
Kristensen Weisberg, LL p- -
12304 Santa Monica Boulevard, Suite 100 CONFORMED COPY
Los Angeles, California 90025 - a ORIGINAL FILED .
3 rexeoonensa (310) 507-7924 saxo (310) 507-7906 Superiof Court of California
artoaney F0a wemey Plainuft Sherry Orson County of Los Anasles
SUPERIOR COURT OF CALIFORNIA, COUNTY OF [OS Angeles
F>srmeeraooress 11] North Hill Succt SEP 09 2016
) MAILING AODRESS .
ciryanpzecoos Los Angeles, 90012 Het :
Mosk C 2 erri R. Carter, Executive Utitcer/Clerk
tC arancuaaue Stanley Mosk Courthouse By: Judi Lara, Deputy
CASE NAME: :
L Orson v. Carbonite. Inc. of
CIVIL CASE COVER SHEET Complex Case.Designation CAS NURSES: BC f 3 3 94
[7] untimited  ([] Limitea . 8959
(Amount (Amount [J] counter [_] Joinder —
demanded demanded is Filed with first appearance by defendant “
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3,402) GEPT

 

 

items 1-6 below must be completed (see instructions on page 2).

{. Check one box below for the case type that best describes this case’
Auto Tort Cantract Provisionally Complex Civil Litigation
Breach of contractAvarranty (06) (Cal. Rules of Cour, rules 3.400-3.403)

 

   

 

 

Auto (22

cir motorist (46) C_] Rule 3.740 collections (09) [_] Antitrust/Trade regulation (03)

Other PUPD/WD (Personal Injury/Property [_] other collections (09) [__] Constrisction defect (10)
Damage/Wrongful. Death) Tort : lok Insurance coverage (13) ) Mass tori (40)

ails CJ Asbestos (04) L_] other contract (37) [_] securities tiligation (28)

og Leck Product liability (24) Real Property [1 Environmertal/Taxic tort (30)

Medical malpractice (45) [] Eminent domainiinverse [_] insurance coverage clains arising fram the
| Other PUPDAND (23) condemination (14) above listed provisionally complex case
Non-PIPDIWD (Other) Tort [__] Wrongiul eviction (33) a a
Business tort/untair business practice (07) Other real praperty (26) Enforcement of Judgment
{_] Civil rights (08) Uniawtul Datainer {J Enforcement of judgment (20)

{_] betamation (13) Commercial (37) Miscellaneous Civil Complaint
[Fraud (16) [_] Residential (32) [_] rico 27)
{_} Intellectual property (19) C_] Drugs (38) {J Other compiaint (ner specified above} (42)
{_] Professional negligence (25) Judicial Review Miscellaneous Civil Potition
C2) otner non-PUPDAND tort (35) Assel forfeiture (05) (_] Pannersnip and corporate governance (21)
Employment CJ Petition re: arbitration avrard (1) [7] other penton (not specified above) (43)
Wrongful tenmination (36) PF Wrtof mandate (02)
Other employment (15) L_] Other judicial review (39)

 

2 This case | is Ly] isnot complex under rule 3 400 of the Calhfornia Rules of Coun. If the case is SOMPIER, mark the
factors requiring exceptional judicial management: :
3. t_ | Large number of separately represented parties d. Cc] Large number of witnesses
b. CJ Extensive motion practice raising difficult or novel _—€. [] Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states. or countries. or in a federal court
c. L__] ‘Substantial amount of documentary evidence f. _] Substantial postjudgment judicial supervision

Remedies sought (check all that apply): a monetary Db. ral nonmonetary: declaratory or injunctive relief = C. [] punitive
Number of causes of action (specify)” Six

This case [_] is isnot aclass action suit,

If there are any known related cases. file and serve a notice of related case (You may use form CM-015,}

Date: September 8. 2016 i
John P. Kristensen
. (TYPE OR PRINT NAME} (SIGNATURE OF PARTY G2 ATTORNEY FOR PART?)

NOT

» Plaintiff must file this cover sheet with the first-paper filed in the action or proceeding (except small ci aims cases or cases filed
under the Probaie Code, Family Code, or Welfare and Institutions Code) (Cal Rules of Coun. rule 3.220.) Failure to file may result
in sanctions. ,

* File this cover sheet in addition to any cover sheet required by Jocal.court’ rule.”
« If this case is complex under rule 3 400 et sea of the California’ Rules of. Court ‘you must Serve a Copy of this cover sheet on all
other parties to the action or proceeding.

* Unless this is a collections case under rule 3 740 or a complex case this cover sheet will be used for statistical purposes only.

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fom Acopied for Mandatory Use Cal Rides of Court, nies 2 30,3220 3400-3403 3740
Judea! Canes of Calton CIVIL CASE COVER SHEET ” Cal Stancards of ieee mnie ae 3 10

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Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 2 of 21 Page ID #:7

*

 

SHORT TITLE

 

: = CASE NUMBER
Orson v. Carbonite, Inc.

 

BC 6 83890

 

CIVIL CASE COVER SHEET ADDENDUM AND
| _ STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION).

 

 

This form is required pursuant to Local! Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 

Dem I, Check the types of hearing and fill in the estimated length of hearing expected for this case:

JURY TRIAL? YZ YES. CLASS ACTION? C] YES LIMITED CASE? (Ives TIME ESTIMATED FOR TRIAL 3-5) HouRS/ Z] Days:

Item Il, Indicate the correct district and courthouse location (4 steps — If you checked “Limited Case”, skip to Item IIl,.Pg. 4):

Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected. :

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
checked. For any exception to the court location, see Local Rule 2.0.

 

Applicable Reasons for Choosing Courthouse Location (see Column C below)

 

6. Location of propesty or permanently garaged vehicie.
7, Location where petitioner resides.
8. Location wherein detendant/respondent functions wholly.
9, Location where one or more of the pares reside.
40. Location of Labor Commissioner Office

1. Class actions must be filed in the Stanley Mosk Courthouse, central district.
2. May be filed in central (other county, or no bodily injury/property damage).
3. Location where cause of action arose. ,

4. Location where bodily injury, death or damage occurred.

5. Location where performance required or defendant resides.

Step 4: Fill in the information requested on page 4 in Item Il!; complete Item IV. .Sign the declaration.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
oe Auto (22) O A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death 1.2.4
S36
Ee ‘ 5
Uninsured Motorist (46) Q A7110 Personal Injury/Property Damage/Wrongful Death —.Uninsured Motorist | 1., 2., 4.
O A6070 Asbestos Property Damage 2.
Asbestos (04)
Be Q A7221 Asbestos - Personal InjuryMrongful Death 2.
€s
o S- Product Liability (24) © A7280 Product Liability (not. asbestos or toxic/environmental) 1.2.5.4. 8.
a &
— oO
eo C A7T210 Medical Malpractice - Physicians & Surgeons 1,4,
= = Medical Malpractice (45) . oo.
= 2 QO AT240 Other Professional Health Care Malpractice 1.4,
2 oO
co fj :
o
E = O A7250 Premises Liability (e.g., slip and fall) 14
. Other Wee
& = Personal Injury Q A7230 Intentional Bodlly Injury/Property Damage/vrangful Death (e.9.. 1.4
£ 8 Property Damage assault, vandalism: etc:) “
- ving Death (1 A7270 Intentional infliction of Emotional Distress Vad,
Q A7220 Olher Personal Injury/Property Damage/Wrongtul Death 1.4.
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
-  _LASC Approved 03-04 AND STATEMENT OF LOCATION Page 1 of 4

 
Case 2:16-cv-07617-SJO-AFM. Document 1-2. Filed 10/13/16 Page 3 of 21 - Page ID #:8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE: ; CASE NUMBER
Orson v. Carbonite, Inc.
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Business Tort (07) @ AG029 Other Commercial/Business Tort (not fraud/breach of contract) 1.3.
#5
= Clvil Rights (08) O A6005 Civil Rights/Discrimination 1.,2.,3.
et
a 3 ,
3a Defamation (13) C A6010 Defamation (standerfiibel) 1.2.3.
= 5 Fraud (16) O A6013 Fraud (no contract) 1.,2., 3.
Cc i=
os
Es O A6017 Legal Malpractice 1.2.3.
a2 Professional Negligence (25) .
ee O A6050 Other Professional Malpractice (not medical or legal) 1.2.3.
264
Other (35) O A6025 Other Non-Personal Injury/Property Damage tort 2.3
, E Wrongful Termination (36) O A6037 Wrongful Termination 1.,2.,3.
E
=>
= O A6024 Other Employment Complaint Case 1.,2.,3,
E Other Employment (15) .
lu O A6109 Labor Commissioner Appeals 10.
O A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful 2.5
eviction) ae
Breach of Conmncy Warrant |) a6008 ContractWarranty Breach -Seller Plaintif (no fraud/negligence) am
{nat insurance)  A8019 Negligent Breach of Contract/Warranty (no fraud) akd
Cl A6028 Other Breach of ContraclWarranty {nol fraud or negligence) late
3 © A6002 Collections Case-Seller Plaintiff 2., 5., 6.
=. Collections (09)
a  A6012 Other Promissory Note/Collections Case 2., 5.
Insurance Coverage (18) 0 A6015 Insurance Coverage (not complex) 1.,2., 6., 8.
O A6009 Contractual Fraud 14 243.05.
Other Contract (37) O A6031 Tortious Interference . 1.,2., 3.5.
0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence} 1.,2..9...8.
Lenses a
Eminent Domain/Inverse 5 . :
Condemnation (14) O A7300 Eminent Domain/Condemnation Number of pact 2.
£
a Wrongful Eviction (33) O A6023 Wrongful Eviction Case 2., 6.
So
a
3 O A6018 Mortgage Foreclosure
oD
i+ Other Real Property (26) O A6032 Quiet Title
O ASO60 Other Real Property (not eminent domain, landlord/tenant, foreclosure) 4 2.,
Eee
be I A
L Uniawful ia ceca O A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 2.8:
o
£
= Pee
3 Unlawful ae Residential | F) 4g020 Untawful Detainer-Residential (not drugs or wrongful eviction) 2.6.
eZ 5
3 Poot cieeae (a4) | 2) A6020F Unlawful Detainer-Post-Foreclosure 2.,6.
=
Unlawful Detainer-Drugs (38) | A6022 Unlawful Detainer-Drugs 2., 6,
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0

~" LASC Approved 03-04

AND STATEMENT OF LOCATION

Page 2 of 4
Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 4of 21 Page ID #9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE: . CASE NUMBER
Orson v. Carbonite, Inc.
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Asset Forfeiture (05) O A6108 Asset Forfeiture Case 2., 6.
2 Petition re Arbitration (11) O A6115 Petition to Compel/ConfirnyVacate Arbitration 2.,5
=>
ao
= OC A6151 Writ- Administrative Mandamus 2., 8,
Cy
2 Writ of Mandate (02) © A6152. Writ - Mandamus on Limited Court Case Matter 2.
3 (1) A6153 Writ - Other Limited Court Case Review 2
Other Judicial Review (39) O A6150 Other Wiit /Judicia) Review 2., 8.
5 Antitrust/Trade Regulation (03) | 1 A6003 Antitrust/Trade Regulation 1.2.8
= Construction Defect (10) O A6007 Construction Defect 4.,2.,3
a3
~ . .
s Claims eae Mass Tort | & - 6006 Claims Involving Mass Tort 1.2.8
£
Oo
S Securities Litigation (28) O A6035 Securities Litigation Case 1.2.8
=
= Toxic Tort 3 ‘
iz : Environmental (30) O A6036 Toxic Torv/Environmental 1.,2.,3., 8.
=
°o
= Insurance Coverage Claims :
a. from Complex Case (41) O A6014 Insurance Coverage/Subrogation (complex case only) 1.,2., 5., 8.
0 A6141 Sister State Judgment 2.9
= = O A6160 Abstract of Judgment 2..6
5 Eo Enforcement O 6107 Confession of Judgment (non-domestic relations) 2., 9
53 of Judgment (20) O A6140 Administrative Agency Award (not unpaid taxes) 26,
“= “=
wi S O A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2.,8
O A6112 Other Enforcement of Judgment Case 2., 8., 9.
a - 2
2 RICO (27) O A6033 Racketeering (RICO) Case 1.,,2.,8
a
a3 £
3 2 OH A6030 Declaratory Rellef Only 1.,2., 8.
3 & Grier Complains [J A6040 injunctive Relief Only (not domestic/harassment) 2.,8.
25 {Not Specified Above) (42) | 6011 Other Commercial Complaint Case (non-tornon-complex) 1.,2., 8.
2 (1 AG000 Other Civil Complaint (non-tortinon-complex) 1.2.8,
Partnership Corporation .
Governance (21) © A6113 Partnership and Corporate Governance Case 2., 8.
= O A6121 Civil Harassment 2
nm
3 s O A6123 Workplace Harassment 2.3,
ces
A61 id ! Cc ig
2 2 Other Petitions Oo 24 Elder/Dependent Adult Abuse Case 2
aS (Not Specified Above) O A6190 Election Contest ra
=O (43)
=? 43) O A6110 Petition for Change of Name 2., 7.
O A6170 Petition for Relief from Late Claim Law 2.,3..4.,. 8
DO A6100 Other Civil Petition 2., 9.
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 3 of 4

 
 

Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 5 of 21 Page ID #:10

 

SHORT TITLE: CASE NUMBER

Orson v. Carbonite, Inc.

 

 

 

Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

ADORESS:
REASON: Check the appropriate boxes for the numbers shown
under Column C for the type of action that you have selected for
this case.’

 

01.02. 43.04.05. 06.07.08. O9. 010.

 

city: STATE: ZIP CODE:
Sludio City CA 91604

 

 

 

 

 

Item IV. Declaration of Assignment: | declare under penalty of perjury under the laws of the State of California that the foregoing is true
and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk courthouse in the
Central District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local

Rule 2.0, subds. (b), (c) and (d))..

Dated: September, 2016 ZE

iGNATURE OF ATTORNEY/FILING PARTY)

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.

2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

3. Civil Case Cover Sheet, Judicial Council form CM-010.

4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
03/11).

5. Payment in full of the filing fee, unless fees have been waived.

A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

LACIV 109 (Rev, 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4
 

Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 6of 21 Page ID #:11

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES .
NOTICE OF CASE ASSIGNMENT --UNLIMITED CIVIL CASE (NON-CLASS ACTION)
. . Case Number

 

THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
Your case is assigned forall purposes to the judge indicated below. There is more information on the reverse side of this form.

 

 

 

ec 6333892

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASSIGNED JUDGE DEPT ROOM ASSIGNED JUDGE DEPT ROOM
Hon. Kevin C. Brazile 1 534 Hon. Elizabeth Allen White 48 506
Hon. Barbara A. Meiers 12 636 Hon. Deirdre Hil! 49 509
Hon. Terry A. Green 14 300 Hon. Teresa A. Beaudet © 50 508
Hon. Richard Fruin 15 307 Hon. Michael J. Raphael 51 511
Hon. Rita Miller 16 306 Hon. Susan Bryant-Deason 52 510
Hon. Richard E. Rico 17 309 Hon. Howard L. Halm 53 S13
Hon. Stephanie Bowick 19 311 Hon. Ernest M. Hiroshige 54 512
Hon. Dalita Corral Lyons 20 310 Hon. Malcolm H. Mackey i S15
Hon. Robert L. Hess 24 314 Hon. Michael Johnson (% ) 514
——
Hon, Yvette M. Palazuelos 28 318 Hon. John P. Doyte 58 516
Hon. Barbara Scheper 30 400 | Hon. Gregory Keosian 61 732
Hon. Samantha Jessner 31 407 Hon. Michael L. Stern 62 600
Hon. Daniel S. Murphy | 32 406 Hon. Mark Mooney: 68 617
Hon. Michael P. Linfield 34 408 Hon. William F, Fahey 69 621
Hon. Gregory Alarcon 36 410 Hon. Suzanne G. Bruguera 7” 729
Hon. Marc Marmaro 37 413 Hon. Ruth Ann Kwan 72 71
Hon. Maureen Duffy-Lewis 38 412 Hon. Rafael Ongkeko T3 733
Hon. Elizabeth Feffer 39 415 Hon. Teresa Sanchez-Gordon 74 735
Hon. David Sotelo 40 414 Hon. Gail Ruderman Feuer 78 730
Hon. Holly E. Kendig 42 416
Hon. Mel Red Recana 45 529 Hon. Steven J. Kleifield 324 ccWw
Hon. Frederick C. Shaller 46 500 iol lace Rose ba
Hon. Debre K. Weintraub 47 507 See rc erciariae 324 ccw

 

 

 

 

 

 

 

 

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Complex

All non-class action cases designated as provisionally complex are forwarded to the Supervising Judge of the Complex Litigation Program
located in the Central Civil West Courthouse (600 'S. Commonwealth Ave., Los Angeles 90005), for complex/non-comptex determination
pursuant to Local Rule 3.3(k). This procedure is for the purpose df:assessing whether or not the case is complex within the meaning of
California Rules of Court, rule 3.400, Depending on the outcome of that assessment, the case may be reassigned to one of the judges of the
Complex Litigation Program or reassigned randomly to a court in the Central District. ,

    
 

Given to the Plaintiff/Cross-Complainant/Attorney of Record oSeP 0 g RBI R. CARTER, Executive Officer/Clerk

, Deputy Clerk

LACIV CCH 190 (Rev.06/16) - NOTICE OF CASE ASSIGNMENT — Page | of 2
LASC Approved 05-06 UNLIMITED CIVIL CASE

 
Case 2:16-cv-07617-SJO-AFM Document 1-2

Keiitlensen Weisberg, LLP

{2304 Santa Monica Blvd, Suite 100

Los Angeles, California 90025

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Filed 10/13/16 Page 7 of 21 Page ID #:12

John P. Kristensen (SBN 224132)

David L. Weisberg (SBN 211675) CORSE: ED.
Matthew T. Hale (SBN 303826) a csinttrs eeeet i
KRISTENSEN WEISBERG, LLP ——
12304 Santa Monica Blvd., Suite 100 SEP 09 2016

Los Angeles, California 90025: :
Telephone: 310-507-7924 Sherri R. Carfer, Executive Utttcer/Clerk
Fax: 310-507-7906 ~ By: Judi Lara, Deputy
john@kristensenlaw.com oy
david@kristensenlaw.com

matt(@kristensenlaw.com

Attorneys for Plaintiff Sherry Orson

SUPERIOR COURT OF THE STATE.OF CALIFORNIA
COUNTY OF LOS ANGELES BC 6 3 8399

 

SHERRY ORSON, an individual, Case No.
Plaintiff, COMPLAINT FOR DAMAGES
vs. (1) California Consumers Legal Remedies

Act, Cal. Civ. Code §§ 1750, ef seq.

(2) California Unfair Competition Law, Cal.
Bus & Prof. Code §§ 17200, et seq.

(3) California False Advertising Law, Cal.
Bus & Prof, Code §§ 17500, et seq.

(4) Unjust Enrichment —

(5) Fraudulent Concealment / Equitable
Estoppel

(6) Breach of Contract

CARBONITE, INC., a Delaware
Corporation; and DOES | through 20,
inclusive, and each of them,

Defendants.

DEMAND FOR JURY TRIAL;
DECLARATION OF SHERRY ORSON

 

L INTRODUCTION

1. COMES NOW plaintiff SHERRY ORSON (hereinafter “Orson” or “Plaintiff")
and alleges causes of action against defendants CARBONITE, INC, (hereinafter, “Carbonite”)
and/or DOES | through 20 (collectively referred to throughout this Complaint as
“Defendant(s)”) for damages. .
2 The causes of action in this matter arise from Carbonite’s wrongful business

practice of failing to disclose to consumers that its computer backup services and software fails

 

 

COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL; DECLARATION OF SHERRY ORSON

a

 
Kristensen Weisberg, LLP

12304 Santa Monica Blvd, Suite 100

Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 8 of 21 Page-ID #:13

Los Angeles, California 90025

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to back up their consumers’ computer data thereby resulting in consumers’ loss of computer
data and payment for Carbonite’s nonfunctional services.
Il. PARTIES

3. Plaintiff, Sherry Orson, (“Plaintiff”), is a natural person residing in Los Angeles
County, California.

4. Defendant, Carbonite, Inc. is a Delaware corporation with its principal place of
business at 2 Avenue de Lafayette, Boston, Massachusetts 02111. Plaintiff is informed and.
believes that Carbonite conducted and conducts business in Los Angeles County. Carbonite
may be served through its registered agent for service of process, CSC — Lawyers
Incorporating Service, at 2710 Gateway Oaks Drive, Suite 150N, Sacramento, California
95833.

5. The above named Defendant, and its subsidiaries and agents, are collectively
referred to as “Defendants.” The true names and capacities of the Defendants sued herein as
DOES 1 through 20, inclusive, are currently unknown to Plaintiff, who therefore sues such
Defendants by fictitious names. Each of the Defendants designated herein as a DOE is legally
responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
the Complaint to reflect the true names and capacities of the DOE Defendants when such
identities become known,

6. Plaintiff is informed and believes and thereon alleges that at all relevant times,
each and every Defendant was acting as an agent and/or employee of each of the other
Defendants and was the owner, agent, servant, joint venturer and employee, each of the other
and each was acting within the course and scope of its ownership, agency, service, joint
venture and employment with the full knowledge and consent of each of the other Defendants.
Plaintiff is informed and believes and thereon alleges that exile of the acts and/or omissions
complained of herein was made known to, and ratified by, each of the other Defendants.

7. At all times mentioned herein, each and every Defendant was the successor of
the other and each assumes the responsibility for each other's acts and omissions.

It
-COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL; DECLARATION OF SHERRY ORSON

4.

 
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12304 Santa Monica Blvd. Suite 100

Case 2:16-cv-07617-SJO-AFM: Document 1-2 Filed 10/13/16 Page 9 of 21 Page ID #:14

Los Angeles, California 90025

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Wt. JURISDICTION & VENUE

8. Jurisdiction and venue are proper in the Superior Court of California, County of
Los Angeles, Stanley Mosk Courthouse. At the time of the acts and omissions, Plaintiff Orson
was a resident of Los Angeles County, and Defendant Carbonite conducted and conducts
business throughout the State of California and County of Los Angeles. Furthermore, this
venue is convenient to the parties and is an appropriate venue for a civil action for damages
and injunctive relief.

Iv. ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
(Against All Defendants)

9. Defendant is in the business of providing online computer backup service for
documents, electronic mail, music, photos and the like to more than 1.5 million customers,
including 50,000 small business customers nationwide.

10. Carbonite offers three separate lines of products, namely, (1) Personal Plans for
individual computers and home offices; (2) Pro Plans for small businesses; and (3) Server
Plans for databases and live applications.

11. Defendant provides its customers with the Personal Plan for an annual fee
starting at $59.99. According to Defendant’s website, www.carbonite.com, “Carbonite keeps
small business and home offices running smoothly...Business doesn’t stop when you leave the
office. That’s why Carbonite lets you access (or even restore) your files anytime, anywhere so
you never have to worry about leaving your files behind. ..Our product works automatically,
so you never have to remember to back up. You can recover your files with just a few
clicks.,.From running your small business to running your household, our goal is to provide
secure and. affordable cloud backup for all your files.”

12. Upon subscribing to Defendant’s service, the customer installs the Defendant’s
software program on the customer’s computers that operates continuously in the background.
The customer software automatically seeks out new and changed files on the customer’s
computers so that the customer’s data is constantly and automatically backed up.

13. Carbonite induces its customers to purchase its services by stating “It’s a fact: | _
COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL; DECLARATION OF SHERRY ORSON |

 

-3-
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Case 2:16-cv-07617-SJO-AFM Document 1-2 Filed 10/13/16 Page 10 0f 21 Page ID #:15

Los Angeles, California 90025

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computers crash, laptops get stolen and files get accidentally deleted. But with Carbonite as
your backup plan — and with the “Restore” button at your disposal, you can be confident
knowing you'll be back to business.” Defendant represents itself as the solution to the
significant problem of losing data. Per Defendant’s website, “We keep America’s small
business running.” |

14. In its promotional materials and on its website, Defendant represents to
consumers that consumers’ files are safe and protected when using Defendant’s back-up
software since consumer’s data is backed up automatically and continually in Defendant’s
“state-of-the-art data centers, safe from computer glitches, hurricanes and everything in
between.” On its website Defendant discusses the safety of its services and states, “Well, let’s
just say that not using the cloud is equivalent of keeping your money in your mattress. Storing
your data in a professionally managed data center means it is given the proper TLC and
attention it needs — redundant disk arrays, temperature controlled environments, backup power
generators and more.”

15. Based on Defendant’s marketing statements and the absence of any legitimate
information from Defendant to the contrary, a reasonable consumer would have no reason to
suspect that Defendant experiences glitches with its software which can and does result in the
degradation and corruption of consumers’ backed up data.

16. By purchasing Defendant’s services, Defendant claims that its customers’ files
are backed up automatically and continually thereby protecting its customers from disasters
such as accidental file deletion, theft, and/or drive failure. Defendant represents and claims
that in the event of disaster, its customers will be able to recover their files from the cloud in
just a few clicks. |

17. Plaintiff purchased Carbonite’s software and services on or about September
13, 2010 and made the required payments to Carbonite in order to back up her computer. At all
times prior to November 21, 2014, to Plaintiff's knowledge, the data on Plaintiffs network of
computers was being backed up by Defendant.

18. On or about November 21, 2014, Plaintiff's computer failed due to a problem

 

 

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with the operating system. Immediately thereafter, Plaintiff attempted to restore the backed up
data using Defendant’s software. At that time, it became evident that Plaintiff was unable to
retrieve the data that Defendant represented was backed up. |

19. Plaintiff telephoned defendant on November 21, 2014 and spoke to Defendant’s
employees, agents and/or representatives, Christian, Daniel, Rabena and a Manager named
Alegra, all of whom confirmed that Carbonite had lost all of plaintiff's data and that Carbonite
had failed to back up the data on plaintiff's computer since 2011. Defendant could neither
restore nor retrieve all of Plaintiff's data and it is now lost. |
¥. CAUSES OF ACTION

FIRST CAUSE OF ACTION

 

VIOLATION OF THE CONSUMERS LEGAL REMEDIES ACT, CAL. CIVIL CODE §§ 1750, ET SEQ.
(Against all Defendants)
20. Plaintiff hereby incorporates by reference and re-alleges each and every

allegation set forth in each and every preceding paragraph of this Complaint, as though fully

_set forth herein.

21. The Consumers Legal Remedies Act (“CLRA”) creates a non-exclusive
statutory remedy for unfair methods of competition and unfair or deceptive acts or business
practices. Its self-declared purpose is to protect consumers against these unfair and deceptive |
business practices, and to provide efficient and economical procedures to secure such
protection. Cal. Civ. Code § 1760. The CLRA was designed to be liberally construed and
applied in favor of consumers to promote its underlying purposes. /d.

22. Defendant’s computer back-up services are “services” within the mrcantng of
Cal. Civ. Code § 1761(b).

23. Plaintiff is a “consumer” within the meaning of Cal. Civ. Code § 1761(d).

24. Defendants have violated the CLRA by engaging in the unfair and/or
deceptive acts and practices set forth herein, including but not limited to:

(a) Defendant’s deceptive acts and practices occurred in the course of selling

its defective computer back-up services to consumers;

 

 

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(b) Defendant had exclusive knowledge of undisclosed material facts, i.e. that
there was degradation in its clients’ back-up and that its back-up software was not
functioning;

(c) Defendant engaged in unfair acts and practices by withholding these material
facts from Plaintiff; and

(d) Plaintiff was not aware that there was degradation in her backup(s) and that
Defendant’s software was not functioning.

25. Defendants have violated the CLRA by engaging in the above unfair acts
and practices, which results in the following violations:

(a) In violation of Cal. Civ. Code § 1770(a)(4), Defendant has used deceptive
representations in connection with its computer backup services;

(b) In violation of Cal. Civ. Code § 1770(a)(5), Defendant has represented that
its back up software and services have characteristics, uses and benefits that they do not
have;

(c) In violation of Cal. Civ. Code § 1770(a)(7), Defendant has represented that
its back up software and services are of a particular standard, ninlity or grade when they
are not; and

(d) In violation of Cal. Civ. Code § 1770(a)(9), Defendant has advertised its
back up software and services with intent not to sell them as advertised.

26.  Defendant’s unfair and deceptive business practices in carrying out the
marketing program described above were and are intended to and did and do result in the
purchase of Defendants’ computer backup services by consumers, including Plaintiff, in
violation of the CLRA.

27. In reasonable reliance on Defendant’s misrepresentations and omissions,
Plaintiff purchased Defendant’s backup computer services for more money than she should
have been required to spend and Plaintiff was not reimbursed for Defendant’s non-functional

services. Plaintiff has therefore suffered injury proximately caused by Defendant’s unfair and

deceptive practices.

 

 

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28. | Had Defendant not misrepresented and omitted the true facts relating to
computer backup services, Plaintiff, as reasonable consumer, would have behaved differently.

29. Unless Defendant is permanently enjoined from continuing to engage in such .
violations of the CLRA, future consumers of the Defendant’s computer back up services will
be harmed by Defendant’s acts and practices in the same way as Plaintiff.

30. Plaintiff does not presently seek damages as a result of Defendant’s violations
of the CLRA, but Plaintiff will amend this complaint to seek damages pursuant to Cal. Civ.
Code § 1782 if Defendant does not correct, repair, replace or otherwise rectify the deceptive
practices complained of herein within 30 days from notice. | |

31.  Carbonite had knowledge of the defective nature of its software as alleged
herein, including that the software failed to properly preserve users’ data, and nevertheless
acted with complete indifference and conscious disregard for the rights of its users, incliding
Plaintiff. Therefore, an award of punitive damages is appropriate.

SECOND CAUSE OF ACTION
VIOLATION OF THE UNFAIR COMPETITION LAW
(Against all Defendants)

32. Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph of this Complaint, as though fully
set forth herein.

33. Cal. Bus. and Prof. Code §§ 17200, et seq. (the “Unfair Competition Law” or

“UCL”) authorizes private lawsuits to enjoin acts of “unfair competition,” which include any

 
 

unlawful, unfair, or fraudulent business practice. .
34. The material misrepresentations, concealment, and non-disclosures by
Defendant as part of their marketing and advertising for their computer backup services are
unlawful, unfair, and fraudulent business practices prohibited by the UCL.
35. By engaging in the above-described acts and practices, Defendant has
committed one or more acts of unfair competition within the meaning of Cal. Bus. & Prof.

Code §§ 17200, et seq.

 

 

COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL; DECLARATION OF SHERRY ORSON

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Defendant committed “unlawful” business acts and practices by:

(a) enuseine in conduct that violates California’s Consumers Legal Remedies
Act, Civ. Code §§ 1770(a)(4), (a)(5),(a)(7) and (a)(9);

(b) engaging in conduct that violates California’s False Advertising Law, Cal.

Bus. & Prof. Code §§ 17500, et seg.; and

(c) engaging in conduct that violates various other laws, regulations, statutes,
and/or common law duties.

Defendants committed “unfair” business acts and practices by:

(a) engaging in conduct where the utility of such conduct, if any, is outweighed
by the gravity of the consequences to Plaintiff, and is not an injury that Plaintiff could have
reasonably avoided; |

(b) engaging in conduct that is immoral, unethical, oppressive, unscrupulous, or
substantially injurious to Plaintiff; and

(c) engaging in conduct that undermines or violates the spirit or intent of the
consumer protection laws detailed herein.

Defendants committed “fraudulent” business acts and practices by
deceiving consumers into believing that their services and software would backup the
consumer’s computer data and by concealing the fact from consumers that the software was
not backing up the data on their computers.

36. In reasonable reliance on Defendant’s unlawful, unfair, and fraudulent
conduct, Plaintiff purchased Defendant’s computer backup services for more money than she
should have been required to spend and Plaintiff was not reimbursed for Defendant’s services
when they were non-functional. Plaintiff has therefore suffered injury proximately caused by
Defendant’s unfair and deceptive practices.

37. Had Defendant not misrepresented and omitted the true facts relating to its
computer backup services, Plaintiff, as reasonable consumer, would have behaved differently.

38.  Defendant’s practices, as set forth above, have misled the general public in the

past and will mislead the general public in the future. Defendant’s business acts and

 

 

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practices, as alleged herein, have caused injury to Plaintiff.

39. Pursuant to Cal. Bus. and Prof. Code § 17203, Plaintiff seeks an order of this
Court enjoining Defendant from continuing to engage in unlawful, unfair, and/or
fraudulent/deceptive business practices and any other acts prohibited by law, including those
acts set forth in the complaint. Plaintiff also seeks an order (a) requiring Defendant to make
full restitution of all moneys it wrongfully obtained from Plaintiff, and (b) requiring
Defendant to disgorge all ill-gotten revenues and/or profits as an additional form of restitution
of funds wrongfully taken from Plaintiff to which Defendant is not entitled.

THIRD CAUSE OF ACTION
VIOLATION OF THE FALSE ADVERTISING LAW
(Against all Defendants)

40. Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph of this Complaint, as though fully
set forth herein.

41. Cal. Bus. and Prof. Code § 17500, et seq. provides that “[iJt is unlawful for
any ... corporation ... with intent ... to dispose of ... personal property ... to induce the public to
enter into any obligation relating thereto, to make or disseminate or cause to be made or
disseminated ... from this state before the public in any state, in any newspaper or other
publication, or any advertising device, or by public outcry or proclamation, or in any other
manner or means whatever, including over the Internet, any statement ... which is untrue or
misleading, and which is known, or which by the exercise of reasonable care should be
known, to be untrue or misleading...”

42. Defendant misled consumers by making untrue statements about the standard,
quality and properties of its computer backup services, as alleged above. Defendant
disseminated untrue and misleading representations regarding the security and safety of its
consumer’s computer data when backed up using Defendant’s software and services.
Defendant knew that their representations and omissions were untrue and misleading, and

deliberately made the aforementioned representations and omissions in order to deceive
COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL; DECLARATION OF SHERRY ORSON

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reasonable consumers like Plaintiff.

43. | Asadirect and proximate result of Defendant’s misleading and false
advertising, Plaintiff has suffered injury in fact and has lost money and property. Plaintiff
reasonably relied upon Defendant’s representations regarding Defendant’s computer backup
services and Defendant’s ability to securely and safely backup Plaintiff's computer data. In
reasonable reliance on Defendant’s false advertising, Plaintiff purchased Defendant’s
computer backup services and therefore, Plaintiff has suffered injury in fact.

44. The misleading and false advertising described herein presents a continuing
threat to Plaintiff and to consumers in that Defendant persists and continues to engage in
these practices, and will not cease doing so-unless and until forced to do so by this Court.
Defendant’s conduct will continue to cause irreparable injury to consumers unless enjoined or
restrained. Plaintiff is entitled to preliminary and permanent injunctive relief ordering
Defendant to cease their false advertising, as well as disgorgement and restitution to Plaintiff
of Defendant’s revenues associated with their false advertising, or such portion of those
revenues as the Court may find equitable.

FOURTH CAUSE OF ACTION

 

UNJUST ENRICHMENT
(Against all Defendants)

45. Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph of this Complaint, as though fully
set forth herein.

46. Defendant has received a benefit at the expense of Plaintiff. Defendant
improperly obtained money from Plaintiff as a result of her purchase of Defendant’s computer
back up services. No substantial justification exists for Defendant’s conduct. Accordingly,
Defendant has received a benefit and has unjustly retained this benefit at the expense of
Plaintiff.

47. Asadirect and proximate result of Defendant’s misconduct, Plaintiff paid

money for goods she was to receive at lower prices and are thereby is entitled to restoration of

 

 

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her data and property.
FIFTH CAUSE OF ACTION
FRAUDULENT CONCEALMENT/EQUITABLE ESTOPPEL

(Against all Defendants)

48. Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph of this Complaint, as though fully
set forth herein.

49. Defendant had a duty to disclose to Plaintiff that Defendant’s software was not
backing up the data on her computers.

50. Defendant concealed the truth from Plaintiff by failing to disclose that
Defendant’s software was not backing up the data on her computers.

$1. Defendant had the opportunity to disclose these facts to Plaintiff, but
Defendant failed to do so.

52. Defendant knew that suppressing the truth from Plaintiff would induce her to
continue paying for Defendant’s nonfunctional services and not cancel service.

53. Plaintiff justifiably relied on Defendant to her detriment by continuing to allow
Defendant to provide purported back-up services for her computers.

54. Had Defendant disclosed the material fact that the software was not backing up
its customers computers, Plaintiff would not have continued to do business with Defendant
and would have taken the necessary steps to avoid being damaged.

55. Through the schemes described above, Defendant has received money
belonging to Plaintiff through the sale of computer backup services that were nonfunctional.

56. Defendant has reaped substantial profits by concealing the fact that its
computer backup services were nonfunctional. Ultimately, this resulted in Defendant’s
wrongful receipt of profits and injury to Plaintiff. Defendant has benefited from the receipt of
such money that it would not have received and/or had to reimburse for nonfunctional
computer backup services. As a direct and proximate result of Defendant’s misconduct as set

forth above, Defendant has been unjustly enriched.

 

 

COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL; DECLARATION OF SHERRY ORSON

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SIXTH CAUSE OF ACTION
BREACH OF CONTRACT
(Against all Defendants)
57. Plaintiff repeats and incorporates by reference into this cause of action all of
the above paragraphs of this Complaint as though fully stated herein.
58. | Defendant breached the contract by taking money from Plaintiff and then
failing to provide the promised computer data back-up services.
59.  Defendant’s breach has caused injury to Plaintiff.
60. Plaintiff performed all conditions, covenants, and promises required on its part
to be performed in accordance with the terms of the contract.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests of this Court the following relief:

L. For the first cause of action, preliminary and permanent injunctive relief
enjoining Defendants, their agents, servants and employees, and all persons acting in concert
with them, from engaging in, and continuing to engage in, the unfair or deceptive acts or
business practices alleged above and that may yet be discovered in the prosecution of this
action;

2. For the second and third causes of action, preliminary and permanent injunctive
relief enjoining Defendants, their agents, servants and employees, and all persons acting in
concert with them, from engaging in, and continuing to engage in, the misleading and false
advertising alleged above and that may yet be discovered in the prosecution of this action;
restitution; disgorgement of all money or property wrongfully obtained by Defendants by
means of their herein-alleged unlawful, unfair, and fraudulent business practices and
misleading and false advertising: and attorneys’ fees and costs;

Bi For the fourth cause of action, restitution and attorneys’ fees and costs;

4, For the fifth and sixth causes of action, the same remedies for the first through
fourth causes of action in addition to compensatory damages. general damages, and
prejudgment and post-judgment interest on the compensatory and general damages;

5. Punitive and exemplary damages in an amount appropriate to punish and/or set
an example of defendants; and

6. And for such other and further relief as this Court may deem just and proper.

KRISTENSEN WEISBERG, LLP

ohn P. Kristensen
David L. Weisberg
Matthew T. Hale

Attorneys for Plaintiff

Dated: September 8, 2016

 

 

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues which may be tried by a jury.

Dated: September 8, 2016 KRISTENSEN WEISBERG, LLP

 

John P. Kristensen
David L. Weisberg
Matthew T. Hale

Attorneys for Plaintiff

 

 

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1 DECLARATION OF S ORSO
2 I, Sherry Orson, declare as follows:
3 I. I submit this declaration pursuant to Section 1780(d) of the Califomia
4 || Consumer Legal Remedies Act. I have personal knowledge of the matters set forth below, and
5 |i if called as a witness, I could and would be competent to testify thereto.
6 2. Atall relevant times, I have been a resident of Los Angeles, California.
7 3. It is my understanding that Defendant Carbonite, Inc. is a Delaware corporation
8 || with its principal place of business in Massachusetts, and conducts regular and sustained
9 || business in Los Angeles County, California. | .
10 I declare under penalty of perjury under the laws of the State of Califomia that the
2 11 |} foregoing is true and correct. Executed SP Coe 2016, in Los An weELES ,
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